Case 6:21-cv-00292-ADA Document 69-6 Filed 03/28/22 Page 1 of 57




                 Exhibit JJ
Case 6:21-cv-00292-ADA Document 69-6 Filed 03/28/22 Page 2 of 57
Case 6:21-cv-00292-ADA Document 69-6 Filed 03/28/22 Page 3 of 57
Case 6:21-cv-00292-ADA Document 69-6 Filed 03/28/22 Page 4 of 57




                     Exhibit A
                    Case 6:21-cv-00292-ADA Document 69-6 Filed 03/28/22 Page 5 of 57
AO 88B (Rev. 06/09) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                       __________             __________
                                                          Western District of Texas

                                                                               )
                               Plaintiff                                       )
                                  v.                                           )       Civil Action No.
                                                                               )
                                                                               )       (If the action is pending in another district, state where:
                              Defendant                                        )             __________ District of __________                 )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To:

        Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and permit their inspection, copying, testing, or sampling of the
material:



 Place:                                                                                 Date and Time:



        Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                 Date and Time:




        The provisions of Fed. R. Civ. P. 45(c), relating to your protection as a person subject to a subpoena, and Rule
45 (d) and (e), relating to your duty to respond to this subpoena and the potential consequences of not doing so, are
attached.


Date:

                                  CLERK OF COURT
                                                                                            OR

                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail, and telephone number of the attorney representing (name of party)
                                                                        , who issues or requests this subpoena, are:
                    Case 6:21-cv-00292-ADA Document 69-6 Filed 03/28/22 Page 6 of 57
AO 88B (Rev. 06/09) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          This subpoena for (name of individual and title, if any)
was received by me on (date)                                   .

              I served the subpoena by delivering a copy to the named person as follows:


                                                                                               on (date)                               ; or

              I returned the subpoena unexecuted because:
                                                                                                                                              .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                             for services, for a total of $                .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc:
                     Case 6:21-cv-00292-ADA Document 69-6 Filed 03/28/22 Page 7 of 57
 AO 88B (Rev. 06/09) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)




                                Federal Rule of Civil Procedure 45 (c), (d), and (e) (Effective 12/1/07)
(c) Protecting a Person Subject to a Subpoena.                                    (d) Duties in Responding to a Subpoena.
  (1) Avoiding Undue Burden or Expense; Sanctions. A party or                      (1) Producing Documents or Electronically Stored Information.
attorney responsible for issuing and serving a subpoena must take                 These procedures apply to producing documents or electronically
reasonable steps to avoid imposing undue burden or expense on a                   stored information:
person subject to the subpoena. The issuing court must enforce this                  (A) Documents. A person responding to a subpoena to produce
duty and impose an appropriate sanction — which may include lost                  documents must produce them as they are kept in the ordinary
earnings and reasonable attorney’s fees — on a party or attorney                  course of business or must organize and label them to correspond to
who fails to comply.                                                              the categories in the demand.
   (2) Command to Produce Materials or Permit Inspection.                            (B) Form for Producing Electronically Stored Information Not
   (A) Appearance Not Required. A person commanded to produce                     Specified. If a subpoena does not specify a form for producing
documents, electronically stored information, or tangible things, or              electronically stored information, the person responding must
to permit the inspection of premises, need not appear in person at the            produce it in a form or forms in which it is ordinarily maintained or
place of production or inspection unless also commanded to appear                 in a reasonably usable form or forms.
for a deposition, hearing, or trial.                                                 (C) Electronically Stored Information Produced in Only One
   (B) Objections. A person commanded to produce documents or                     Form. The person responding need not produce the same
tangible things or to permit inspection may serve on the party or                 electronically stored information in more than one form.
attorney designated in the subpoena a written objection to                           (D) Inaccessible Electronically Stored Information. The person
inspecting, copying, testing or sampling any or all of the materials or           responding need not provide discovery of electronically stored
to inspecting the premises — or to producing electronically stored                information from sources that the person identifies as not reasonably
information in the form or forms requested. The objection must be                 accessible because of undue burden or cost. On motion to compel
served before the earlier of the time specified for compliance or 14              discovery or for a protective order, the person responding must show
days after the subpoena is served. If an objection is made, the                   that the information is not reasonably accessible because of undue
following rules apply:                                                            burden or cost. If that showing is made, the court may nonetheless
     (i) At any time, on notice to the commanded person, the serving              order discovery from such sources if the requesting party shows
party may move the issuing court for an order compelling production               good cause, considering the limitations of Rule 26(b)(2)(C). The
or inspection.                                                                    court may specify conditions for the discovery.
     (ii) These acts may be required only as directed in the order, and            (2) Claiming Privilege or Protection.
the order must protect a person who is neither a party nor a party’s               (A) Information Withheld. A person withholding subpoenaed
officer from significant expense resulting from compliance.                       information under a claim that it is privileged or subject to
  (3) Quashing or Modifying a Subpoena.                                           protection as trial-preparation material must:
   (A) When Required. On timely motion, the issuing court must                       (i) expressly make the claim; and
quash or modify a subpoena that:                                                     (ii) describe the nature of the withheld documents,
     (i) fails to allow a reasonable time to comply;                              communications, or tangible things in a manner that, without
     (ii) requires a person who is neither a party nor a party’s officer          revealing information itself privileged or protected, will enable the
to travel more than 100 miles from where that person resides, is                  parties to assess the claim.
employed, or regularly transacts business in person — except that,                 (B) Information Produced. If information produced in response to a
subject to Rule 45(c)(3)(B)(iii), the person may be commanded to                  subpoena is subject to a claim of privilege or of protection as trial-
attend a trial by traveling from any such place within the state where            preparation material, the person making the claim may notify any
the trial is held;                                                                party that received the information of the claim and the basis for it.
     (iii) requires disclosure of privileged or other protected matter, if        After being notified, a party must promptly return, sequester, or
no exception or waiver applies; or                                                destroy the specified information and any copies it has; must not use
     (iv) subjects a person to undue burden.                                      or disclose the information until the claim is resolved; must take
   (B) When Permitted. To protect a person subject to or affected by              reasonable steps to retrieve the information if the party disclosed it
a subpoena, the issuing court may, on motion, quash or modify the                 before being notified; and may promptly present the information to
subpoena if it requires:                                                          the court under seal for a determination of the claim. The person
     (i) disclosing a trade secret or other confidential research,                who produced the information must preserve the information until
development, or commercial information;                                           the claim is resolved.
     (ii) disclosing an unretained expert’s opinion or information that
does not describe specific occurrences in dispute and results from                (e) Contempt. The issuing court may hold in contempt a person
the expert’s study that was not requested by a party; or                          who, having been served, fails without adequate excuse to obey the
     (iii) a person who is neither a party nor a party’s officer to incur         subpoena. A nonparty’s failure to obey must be excused if the
substantial expense to travel more than 100 miles to attend trial.                subpoena purports to require the nonparty to attend or produce at a
   (C) Specifying Conditions as an Alternative. In the circumstances              place outside the limits of Rule 45(c)(3)(A)(ii).
described in Rule 45(c)(3)(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under
specified conditions if the serving party:
     (i) shows a substantial need for the testimony or material that
cannot be otherwise met without undue hardship; and
     (ii) ensures that the subpoenaed person will be reasonably
compensated.
Case 6:21-cv-00292-ADA Document 69-6 Filed 03/28/22 Page 8 of 57
Case 6:21-cv-00292-ADA Document 69-6 Filed 03/28/22 Page 9 of 57
Case 6:21-cv-00292-ADA Document 69-6 Filed 03/28/22 Page 10 of 57
Case 6:21-cv-00292-ADA Document 69-6 Filed 03/28/22 Page 11 of 57
Case 6:21-cv-00292-ADA Document 69-6 Filed 03/28/22 Page 12 of 57
Case 6:21-cv-00292-ADA Document 69-6 Filed 03/28/22 Page 13 of 57
Case 6:21-cv-00292-ADA Document 69-6 Filed 03/28/22 Page 14 of 57
Case 6:21-cv-00292-ADA Document 69-6 Filed 03/28/22 Page 15 of 57
Case 6:21-cv-00292-ADA Document 69-6 Filed 03/28/22 Page 16 of 57
Case 6:21-cv-00292-ADA Document 69-6 Filed 03/28/22 Page 17 of 57
Case 6:21-cv-00292-ADA Document 69-6 Filed 03/28/22 Page 18 of 57
Case 6:21-cv-00292-ADA Document 69-6 Filed 03/28/22 Page 19 of 57
Case 6:21-cv-00292-ADA Document 69-6 Filed 03/28/22 Page 20 of 57
Case 6:21-cv-00292-ADA Document 69-6 Filed 03/28/22 Page 21 of 57
Case 6:21-cv-00292-ADA Document 69-6 Filed 03/28/22 Page 22 of 57
       Case 6:21-cv-00292-ADA Document 69-6 Filed 03/28/22 Page 23 of 57
                                                                                        March 07, 2022


                       IN THE UNITED STATES DISTRICT COURT                                 Reuben Amaro
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION

   STANDING ORDER GOVERNING PROCEEDINGS (OGP) 4.0—PATENT CASES

This OGP governs proceedings in all patent cases pending before the undersigned and takes
effect upon entry in all patent cases, except where noted. If there are conflicts between this OGP
and prior versions in existing cases that the parties are unable to resolve, the parties are
encouraged to contact the Court for guidance via email to the Court’s law clerk.

Parties should generally email any inquiries to the Court’s law clerk. The Court’s voicemail is
not checked regularly. Email is the preferred contact method.

Email for the Court’s law clerk: TXWDml_LawClerks_JudgeAlbright@txwd.uscourts.gov.

                                 I.   GENERAL DEADLINES

The following deadlines apply:

   1. Patent cases shall be set for a Rule 16 Case Management Conference (CMC) in
      accordance with the Court’s Standing Order Regarding Notice of Readiness in Patent
      Cases.

   2. Not later than 7 days before the CMC. The plaintiff shall serve preliminary infringement
      contentions chart setting forth where in the accused product(s) each element of the
      asserted claim(s) are found. The plaintiff shall also identify the priority date (i.e. the
      earliest date of invention) for each asserted claim and produce: (1) all documents
      evidencing conception and reduction to practice for each claimed invention, and (2) a
      copy of the file history for each patent in suit.

   3. Two weeks after the CMC. The parties shall file a motion to enter an agreed Scheduling
      Order that generally tracks the exemplary schedule attached as Exhibit A to this OGP,
      which should suit most cases. If the parties cannot agree, the parties shall submit a joint
      motion for entry of a Scheduling Order briefly setting forth their scheduling
      disagreement. Absent agreement of the parties, the plaintiff shall be responsible for the
      timely submission of this and other joint filings. When filing any Scheduling Order, the
      parties shall also jointly send an editable copy to the Court’s law clerk.

   4. Seven weeks after the CMC. The defendant shall serve preliminary invalidity contentions
      in the form of (1) a chart setting forth where in the prior art references each element of
      the asserted claim(s) are found, (2) an identification of any limitations the defendant
      contends are indefinite or lack written description under section 112, and (3) an
      identification of any claims the defendant contends are directed to ineligible subject
      matter under section 101. The 101 contention shall (1) identify the alleged abstract idea,
      law of nature, and/or natural phenomenon in each challenged claim; (2) identify each
      claim element alleged to be well-understood, routine, and/or conventional; and (3) to the
      extent not duplicative of 102/103 prior art contentions, prior art for the contention that

                                                 1
OGP Version 4.0
         Case 6:21-cv-00292-ADA Document 69-6 Filed 03/28/22 Page 24 of 57




         claim elements are well-understood, routine, and/or conventional. The defendant shall
         also produce (1) all prior art referenced in the invalidity contentions, and (2) technical
         documents, including software where applicable, sufficient to show the operation of the
         accused product(s). 1

                                         II.    DISCOVERY

Except with regard to venue, jurisdictional, and claim construction-related discovery, all other
discovery shall be stayed until after the Markman hearing. Notwithstanding this general stay of
discovery, the Court will permit limited discovery by agreement of the parties, or upon request,
where exceptional circumstances warrant. For example, if discovery outside the United States is
contemplated, the Court is inclined to allow such discovery to commence before the Markman
hearing.

Following the Markman hearing, the following discovery limits apply. The Court will consider
reasonable requests to adjust these limits should circumstances warrant.

    1.   Interrogatories: 30 per side 2
    2.   Requests for Admission: 45 per side
    3.   Requests for Production: 75 per side
    4.   Fact Depositions: 70 hours per side (for both party and non-party witnesses combined)
    5.   Expert Depositions: 7 hours per report 3

Electronically Stored Information. As a preliminary matter, the Court will not require general
search and production of email or other electronically stored information (ESI), absent a showing
of good cause. If a party believes targeted email/ESI discovery is necessary, it shall propose a
procedure identifying custodians and search terms it believes the opposing party should search.
The opposing party can oppose, or propose an alternate plan. If the parties cannot agree, they
shall contact the Court to discuss their respective positions.

                                 III.    DISCOVERY DISPUTES

Procedure. A party may not file a Motion to Compel discovery unless: (1) lead counsel have
met and conferred in good faith to try to resolve the dispute, and (2) the party has contacted the
Court’s law clerk to summarize the dispute and the parties’ respective positions. When


1
 To the extent it may promote early resolution, the Court encourages the parties to exchange license and
sales information, but any such exchange is optional during the pre-Markman phase of the case.
2
  A “side” shall mean the plaintiff (or related plaintiffs suing together) on the one hand, and the defendant
(or related defendants sued together) on the other hand. If the Court consolidates related cases for pretrial
purposes, with regard to calculating limits imposed by this OGP, a “side” shall be interpreted as if the
cases were proceeding individually. For example, in consolidated cases the plaintiff may serve up to 30
interrogatories on each defendant, and each defendant may serve up to 30 interrogatories on the plaintiff.
3
 For example, if a single technical expert submits reports on both infringement and invalidity, he or she
may be deposed for up to 14 hours in total.

                                                      2
OGP Version 4.0
          Case 6:21-cv-00292-ADA Document 69-6 Filed 03/28/22 Page 25 of 57




contacting the Court’s law clerk for discovery or procedural disputes, the following procedures
shall apply.

If the parties remain at an impasse after lead counsel have met and conferred, the requesting
party shall email a summary of the issue(s) and specific relief requested to all counsel of record.
The summary of the issue shall not exceed 500 words for one issue or a combined 1000 words
for multiple issues. The responding party has three business days thereafter to provide an email
response, also not to exceed 500 words for one issue or a combined 1000 words for multiple
issues. The specific relief requested should propose the exact language to be issued in a court
order for each part of every disputed issue. The specific relief requested does not count toward
word limits. The Court encourages the parties to provide their submission in a table format which
identifies the disputed issues and specific relief requested.

                                                Example:

        Issue            Requesting Party’s Position               Responding Party’s Position

    RFP 1:          Responding Party didn’t produce          We found no sales records of the
    All sale        anything. Responding Party keeps         Product in the sales database.
    records of      its sales records in a sales database.
    the Product.
                    Relief: Order that “Responding           Relief: Find that “no documents
                    Party must produce a copy of the         responsive to RFP 5 exist” and deny
                    sales database within 7 days.”           Requesting Party’s relief.

    ROG 5:          Responding Party only identified a       We identified the relevant employees.
    Identify all    subset of the employees.                 The other employees are not relevant,
    employees                                                and it is too burdensome to identify
    who worked      Relief: Order that “Responding           every employee.
    on the          Party is compelled to fully respond
    Product.        to ROG 5 by identifying the names        Relief: Order that “Responding Party
                    and locations of the remaining           need not identify any other employees in
                    employees who worked on Product          response to ROG 5.”
                    by [date].”



Once the opposing party provides its response, the requesting party shall email the summaries of
the issues to the Court’s law clerk with opposing counsel copied. If a hearing is requested, the
parties shall indicate in the email whether any confidential information will be presented.
Thereafter, the Court will provide guidance to the parties regarding the dispute or arrange a
telephonic or Zoom hearing. The hearing shall proceed in the sequence of issues charted.

Written Order. 4 Within 7 days of the discovery hearing, the parties shall email a jointly
proposed order to the Court’s law clerk that includes the summaries of the issues, relief

4
    This supersedes June 17, 2021 Standing Order for Discovery Hearings in Patent Cases.

                                                     3
OGP Version 4.0
       Case 6:21-cv-00292-ADA Document 69-6 Filed 03/28/22 Page 26 of 57




requested, and the parties’ understanding of the Court’s ruling. If one party disputes the language
of the order, then that party shall send an editable version of the proposed order to the Court’s
law clerk with the disputed language in tracked changes.

                                  IV.   VENUE DISCOVERY

The Court hereby establishes the following presumptive limits on discovery related to venue and
jurisdiction: each party is limited to 5 interrogatories, 10 Requests for Production, and 10 hours
of deposition testimony. The time to respond to such discovery requests is reduced to 20 days. If
a party believes these limits should be expanded, the party shall meet and confer with opposing
counsel and if an impasse is reached, the requesting party is directed to contact the Court for a
telephonic hearing.

Venue or jurisdictional discovery shall be completed no later than ten weeks after the filing of an
initial venue motion. Parties shall file a notice of venue or jurisdictional discovery if the
discovery will delay a response to a motion to transfer.

                             V.     MOTIONS FOR TRANSFER

This section applies to all cases filed on or after the effective date of this OGP. Otherwise, the
Second Amended Standing Order Regarding Motions for Inter-District Transfer controls earlier-
filed cases.

A motion to transfer anywhere may be filed within three weeks after the CMC or within eight
weeks of receiving or waiving service of the complaint, whichever is later. Thereafter, a movant
must show good cause for any delay and seek leave of court. The deadline for plaintiff’s
response is two weeks after the completion of venue or jurisdictional discovery. The deadline for
Defendant’s reply is two weeks after the filing of the response.

The following page limits and briefing schedule apply to motions to transfer:

       a. Opening – 15 pages

       b. Response – 15 pages, due 14 days after the completion of venue or jurisdictional
          discovery, if such discovery is conducted; otherwise, 14 days after the Opening brief

       c. Reply – 5 pages, due 14 days after the Response brief

All parties who have filed a motion to transfer shall provide the Court with a status report
indicating whether the motion has been fully briefed at each of the following times: 1) when the
motion to transfer becomes ready for resolution, 2) at four weeks before the Markman hearing
date if the motion to transfer remains unripe for resolution and 3) if there are multiple Markman
hearings, the status report is due six weeks before the first scheduled Markman hearing. In
addition, if by one week before the Markman hearing the Court has not ruled on any pending
motion to transfer, the moving party is directed to email the Court’s law clerk (and the technical
advisor, when appointed), and indicate that the motion to transfer is pending.



                                                 4
OGP Version 4.0
       Case 6:21-cv-00292-ADA Document 69-6 Filed 03/28/22 Page 27 of 57




If a motion to transfer to another district remains pending, the Court will either promptly resolve
the pending motion before the Markman hearing or postpone the Markman hearing. Whenever a
Markman hearing is postponed pursuant to this OGP (e.g., because the transfer motion has not
yet ripened or only recently ripened), Fact Discovery will begin one day after the originally
scheduled Markman hearing date.

             VI.  MEET AND CONFER REQUIREMENT FOR
      EARLY MOTIONS TO DISMISS INDIRECT AND WILLFUL INFRINGEMENT

Any party seeking to dismiss claims of indirect or willful infringement before fact discovery
must first meet and confer with the opposing party to discuss dismissing those allegations
without prejudice, with leave to re-plead those allegations with specificity, if supported by a
good faith basis under Rule 11, within three months after fact discovery opens while permitting
fact discovery on indirect and willful infringement during those three months. The party moving
to dismiss must attach a certification of compliance with this OGP to its motion to dismiss.

An agreement to dismiss under this section shall be filed as a joint notice instead of as a motion.

                        VII.    INTERIM PROTECTIVE ORDER

The Court provides a Model Protective Order on its website. Pending entry of the final Protective
Order, the Court issues the following interim Protective Order to govern the disclosure of
confidential information:

       If any document or information produced in this matter is deemed confidential by the
       producing party and if the Court has not entered a protective order, until a protective
       order is issued by the Court, the document shall be marked “confidential” or with some
       other confidential designation (such as “Confidential – Outside Attorneys’ Eyes Only”)
       by the disclosing party and disclosure of the confidential document or information shall
       be limited to each party’s outside attorney(s) of record and the employees of such outside
       attorney(s).

       If a party is not represented by an outside attorney, disclosure of the confidential
       document or information shall be limited to one designated “in house” attorney, whose
       identity and job functions shall be disclosed to the producing party 5 days prior to any
       such disclosure, in order to permit any motion for protective order or other relief
       regarding such disclosure. The person(s) to whom disclosure of a confidential document
       or information is made under this OGP shall keep it confidential and use it only for
       purposes of litigating the case.

                           VIII.    CLAIM CONSTRUCTION

                     Limits for Number of Claim Terms to be Construed

Terms for Construction. Based on the Court’s experience, the Court believes that it should
have presumed limits on the number of claim terms to be construed. The “presumed limit” is the
maximum number of terms that each side may request the Court to construe without further
leave of Court. If the Court grants leave for additional terms to be construed, depending on the

                                                 5
OGP Version 4.0
       Case 6:21-cv-00292-ADA Document 69-6 Filed 03/28/22 Page 28 of 57




complexity and number of terms, the Court may split the Markman hearing into multiple
hearings.
The presumed limits based on the number of patents-in-suit are as follows:

 1-2 Patents                       3-5 Patents                       More than 5 Patents
 8 terms                           10 terms                          12 terms

When the parties submit their joint claim construction statement, in addition to the term and the
parties’ proposed constructions, the parties should indicate which party or side proposed that
term, or if that was a joint proposal.

                              Briefing Procedure and Page Limits

The Court will require non-simultaneous Markman briefing with the following default page
limits. When exceptional circumstances warrant, the Court will consider reasonable requests to
adjust these limits. These page limits shall also apply collectively for coordinated and
consolidated cases; however, the Court will consider reasonable requests to adjust page limits in
consolidated cases where circumstances warrant. The Court has familiarity with the law of claim
construction and encourages the parties to forego lengthy recitations of legal authorities and to
instead focus on the substantive issues unique to each case.

Unless otherwise agreed to by the parties, the default order of terms in the parties’ briefs shall be
based on 1) the patent number (lowest to highest), the claim number (lowest to highest), and
order of appearance within the lowest number patent and claim. An example order may be as
follows:

   1. 10,000,000 Patent, Claim 1, Term 1
   2. 10,000,000 Patent, Claim 1, Term 2 (where Term 2 appears later in the claim than does
      Term 1)
   3. 10,000,000 Patent, Claim 2, Term 3 (where Term 3 appears later in the claim than does
      Terms 2 and 3)
   4. 10,000,001 Patent, Claim 1, Term 4
   5. 10,000,001 Patent, Claim 3, Term 5
   6. 10,000,002 Patent, Claim 2, Term 6

If that the same or similar terms appear in multiple claims, those same or similar terms should be
ordered according to the lowest patent number, lowest claim number, and order of appearance
within the patent and claim.


 Brief                    1-2 Patents                 3-5 Patents            More than 5 Patents
 Opening                  20 pages                    30 pages               30 pages, plus 5
 (Defendant)                                                                 additional pages for
                                                                             each patent over 5 up
                                                                             to a maximum of 45
                                                                             pages


                                                  6
OGP Version 4.0
       Case 6:21-cv-00292-ADA Document 69-6 Filed 03/28/22 Page 29 of 57




 Response                 20 pages                   30 pages               30 pages, plus 5
 (Plaintiff)                                                                additional pages for
                                                                            each patent over 5 up
                                                                            to a maximum of 45
                                                                            pages
 Reply                    10 pages                   15 pages               15 pages, plus 2
 (Defendant)                                                                additional pages for
                                                                            each patent over 5 up
                                                                            to a maximum of 21
                                                                            pages
 Sur-Reply                10 pages                   15 pages               15 pages, plus 2
 (Plaintiff)                                                                additional pages for
                                                                            each patent over 5 up
                                                                            to a maximum of 21
                                                                            pages

After briefing concludes, the parties shall file a Joint Claim Construction Statement and email an
editable copy to the Court’s law clerks.

                 Technology Tutorials and Conduct of the Markman Hearing

Technology tutorials are optional, especially in cases where a technical advisor has been
appointed. If the parties submit one, the tutorial should be in electronic form, with voiceovers,
and submitted at least 10 days before the Markman hearing. In general, tutorials should be: (1)
directed to the underlying technology (rather than argument related to infringement or validity),
and (2) limited to 15 minutes per side. The tutorial will not be part of the record and the parties
may not rely on or cite to the tutorial in other aspects of the litigation.

The Court generally sets aside one hour for the Markman hearing; however, the Court is open to
reserving more or less time, depending on the complexity of the case and input from the parties.
As a general rule, the party opposing the Court’s preliminary construction shall go first. If both
parties oppose the Court’s preliminary construction, the plaintiff shall typically go first.

The Court will provide preliminary constructions to the parties ahead of the Markman hearing.
At the Markman hearing, the Court encourages oral arguments that fine-tune the preliminary
constructions over arguments repeated from the briefs.

                                 IX.     GENERAL ISSUES

1. The Court will entertain reasonable requests to streamline the case schedule and discovery.
   Parties should contact the Court’s law clerk when a change might help streamline the case.

2. The Court is generally willing to extend the response to the Complaint up to 45 days if
   agreed by the parties. However, longer extensions are disfavored.

3. Speaking objections during depositions are improper. Objections during depositions shall be
   stated concisely and in a nonargumentative and nonsuggestive manner. Examples of

                                                 7
OGP Version 4.0
       Case 6:21-cv-00292-ADA Document 69-6 Filed 03/28/22 Page 30 of 57




    permissible objections include: “Objection, leading,” “Objection, compound,” “Objection,
    vague.” Other than to evaluate privilege issues, counsel should not confer with a witness
    while a question is pending. Counsel may confer with witnesses during breaks in a deposition
    without waiving any otherwise applicable privilege.

4. Plaintiff must file a notice informing the Court when an IPR is filed, the expected time for an
   institution decision, and the expected time for a final written decision, within two weeks of
   the filing of the IPR.

5. After the trial date is set, the Court will not move the trial date except in extreme situations.
   If a party believes that the circumstances warrant continuing the trial date, the parties are
   directed to contact the Court’s law clerk.

6. The Court does not limit the number of motions for summary judgment (MSJs), Daubert
   motions, or Motions in limine (MIL) a party may file. However, absent leave of Court, the
   cumulative page limit for opening briefs for all MSJs is 40 pages per side, for all Daubert
   motions is 40 pages per side, and for all MILs is 15 pages per side. Each responsive MSJ,
   Daubert, and MIL brief is limited to the pages utilized in the opening brief or by the local
   rules, whichever is greater; and the cumulative pages for responsive briefs shall be no more
   than cumulative pages utilized in the opening briefs. Reply brief page limits shall be
   governed by the local rules.

7. For Markman briefs, 5 summary judgment motions, and Daubert motions, the parties shall
   jointly deliver to Chambers one double-sided paper copy of the Opening, Response, and
   Reply briefs, omitting attachments, at least 10 days before the hearing. Absent agreement to
   the contrary, the plaintiff shall be responsible for delivering a combined set of paper copies to
   chambers. Each party shall also provide an electronic copy of the briefs, exhibits, and the
   optional technology tutorial via USB drive. For Markman briefs, the parties should also
   include one paper copy of all patents-in-suit and the Joint Claim Construction Statement. If
   the Court appoints a technical advisor, each party shall deliver the same to the technical
   advisor, also 10 days before the hearing.

8. When filing the Joint Claim Construction Statement or proposed Protective Order, the parties
   shall also email the law clerk a Word version of the filed documents.

9. For all non-dispositive motions, the parties shall submit a proposed Order. The proposed
   Order shall omit the word “Proposed” from the title.

10. Unless the Court indicates otherwise, the following Zoom information shall be used for all
    non-private hearings. The public is allowed to attend non-private hearings. Any party who
    intends to present confidential information shall email the Court’s law clerk to request a
    private Zoom setup.



5
 But if the Court appoints a technical advisor for claim construction, the parties do not need to provide a
copy of the Markman briefs to the Court.

                                                     8
OGP Version 4.0
      Case 6:21-cv-00292-ADA Document 69-6 Filed 03/28/22 Page 31 of 57




   https://txwd-
   uscourts.zoomgov.com/j/1613131172?pwd=ek9WOFZLeHZXalNYVmFOdkJabDJoQT09

   Meeting ID: 161 313 1172
   Passcode: 167817
   One tap mobile: +16692545252,,1613131172#,,,,*167817



SIGNED this 7th day of March, 2022.




                                  ALAN D ALBRIGHT
                                  UNITED STATES DISTRICT JUDGE




                                          9
OGP Version 4.0
       Case 6:21-cv-00292-ADA Document 69-6 Filed 03/28/22 Page 32 of 57




                     IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF TEXAS
                                WACO DIVISION


 LED WAFER SOLUTIONS LLC,

                          Plaintiff,             Civil Action No. 6:21-cv-00292-ADA

 v.

 SAMSUNG ELECTRONICS CO., LTD.,                  JURY TRIAL DEMANDED
 SAMSUNG ELECTRONICS AMERICA,
 INC.,

                      Defendants,

 and

 SEOUL SEMICONDUCTOR CO., LTD.,

               Intervenor-Defendant.


DEFENDANTS SAMSUNG ELECTRONICS CO., LTD. & SAMSUNG ELECTRONICS
      AMERICA, INC.’S NOTICE OF SUBPOENA TO LUMILEDS LLC

       Please take notice that, pursuant to Rule 45 of the Federal Rules of Civil Procedure,

Defendants Samsung Electronics Co., Ltd. and Samsung Electronics America, Inc. (collectively,

“Samsung”), by and through their undersigned counsel, hereby give notice that a subpoena for

testimony is being served on nonparty Lumileds LLC (“Lumileds”), attached as Exhibit A.
Case 6:21-cv-00292-ADA Document 69-6 Filed 03/28/22 Page 33 of 57
Case 6:21-cv-00292-ADA Document 69-6 Filed 03/28/22 Page 34 of 57




                     Exhibit A
                 Case 6:21-cv-00292-ADA Document 69-6 Filed 03/28/22 Page 35 of 57
AO 88A (Rev.   / ) Subpoena to Testify at a Deposition in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                                           for the
                                                         Western District of Texas
                                                      __________             __________

                                                                              )
                             Plaintiff                                        )
                                v.                                            )      Civil Action No.
                                                                              )
                                                                              )
                            Defendant                                         )

                           SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

To:

                                                     (Name of person to whom this subpoena is directed)




 Place:                                                                               Date and Time:


          The deposition will be recorded by this method:

          Production: You, or your representatives, must also bring with you to the deposition the following documents,
          electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
          material:




       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:
                                CLERK OF COURT
                                                                                        OR

                                         Signature of Clerk or Deputy Clerk                               Attorney’s signature

The name, address, e-mail address, and telephone number of the attorney representing (name of party)
                                                                        , who issues or requests this subpoena, are:


                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
                   Case 6:21-cv-00292-ADA Document 69-6 Filed 03/28/22 Page 36 of 57
AO 88A (Rev. 2/ ) Subpoena to Testify at a Deposition in a Civil Action (Page 2)

Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          I received this subpoena for (name of individual and title, if any)
on (date)                        .

              I served the subpoena by delivering a copy to the named individual as follows:


                                                                                   on (date)                     ; or

              I returned the subpoena unexecuted because:
                                                                                                                         .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                      .

My fees are $                                    for travel and $                      for services, for a total of $    .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                          Server’s signature



                                                                                        Printed name and title




                                                                                           Server’s address

Additional information regarding attempted service, etc.:
                    Case 6:21-cv-00292-ADA Document 69-6 Filed 03/28/22 Page 37 of 57

AO 88A (Rev. 2/ ) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                 (i) disclosing a trade secret or other confidential research, development,
                                                                                   or commercial information; or
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     (ii) disclosing an unretained expert’s opinion or information that does
person to attend a trial, hearing, or deposition only as follows:                  not describe specific occurrences in dispute and results from the expert’s
   (A) within 100 miles of where the person resides, is employed, or               study that was not requested by a party.
regularly transacts business in person; or                                            (C) Specifying Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly        described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                        modifying a subpoena, order appearance or production under specified
      (i) is a party or a party’s officer; or                                      conditions if the serving party:
      (ii) is commanded to attend a trial and would not incur substantial               (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                           otherwise met without undue hardship; and
                                                                                        (ii) ensures that the subpoenaed person will be reasonably compensated.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or              (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                             (1) Producing Documents or Electronically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                     procedures apply to producing documents or electronically stored
                                                                                   information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                           (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps             (B) Form for Producing Electronically Stored Information Not Specified.
to avoid imposing undue burden or expense on a person subject to the               If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must             information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction—which may include             which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney’s fees—on a party or attorney who               (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                   person responding need not produce the same electronically stored
                                                                                   information in more than one form.
 (2) Command to Produce Materials or Permit Inspection.                               (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required. A person commanded to produce                      responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to            from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of       of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,         order, the person responding must show that the information is not
hearing, or trial.                                                                 reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible             made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated       requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or            26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.        (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for            (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,       under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                         material must:
     (i) At any time, on notice to the commanded person, the serving party              (i) expressly make the claim; and
may move the court for the district where compliance is required for an                 (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                         tangible things in a manner that, without revealing information itself
     (ii) These acts may be required only as directed in the order, and the        privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party’s officer from        (B) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                     subpoena is subject to a claim of privilege or of protection as
                                                                                   trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                             that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where            information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                       until the claim is resolved; must take reasonable steps to retrieve the
                                                                                   information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
                                                                                   subpoena or an order related to it.


                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
Case 6:21-cv-00292-ADA Document 69-6 Filed 03/28/22 Page 38 of 57
Case 6:21-cv-00292-ADA Document 69-6 Filed 03/28/22 Page 39 of 57
Case 6:21-cv-00292-ADA Document 69-6 Filed 03/28/22 Page 40 of 57
Case 6:21-cv-00292-ADA Document 69-6 Filed 03/28/22 Page 41 of 57
Case 6:21-cv-00292-ADA Document 69-6 Filed 03/28/22 Page 42 of 57
Case 6:21-cv-00292-ADA Document 69-6 Filed 03/28/22 Page 43 of 57
Case 6:21-cv-00292-ADA Document 69-6 Filed 03/28/22 Page 44 of 57
Case 6:21-cv-00292-ADA Document 69-6 Filed 03/28/22 Page 45 of 57
Case 6:21-cv-00292-ADA Document 69-6 Filed 03/28/22 Page 46 of 57
Case 6:21-cv-00292-ADA Document 69-6 Filed 03/28/22 Page 47 of 57
Case 6:21-cv-00292-ADA Document 69-6 Filed 03/28/22 Page 48 of 57
       Case 6:21-cv-00292-ADA Document 69-6 Filed 03/28/22 Page 49 of 57
                                                                                        March 07, 2022


                       IN THE UNITED STATES DISTRICT COURT                                 Reuben Amaro
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION

   STANDING ORDER GOVERNING PROCEEDINGS (OGP) 4.0—PATENT CASES

This OGP governs proceedings in all patent cases pending before the undersigned and takes
effect upon entry in all patent cases, except where noted. If there are conflicts between this OGP
and prior versions in existing cases that the parties are unable to resolve, the parties are
encouraged to contact the Court for guidance via email to the Court’s law clerk.

Parties should generally email any inquiries to the Court’s law clerk. The Court’s voicemail is
not checked regularly. Email is the preferred contact method.

Email for the Court’s law clerk: TXWDml_LawClerks_JudgeAlbright@txwd.uscourts.gov.

                                 I.   GENERAL DEADLINES

The following deadlines apply:

   1. Patent cases shall be set for a Rule 16 Case Management Conference (CMC) in
      accordance with the Court’s Standing Order Regarding Notice of Readiness in Patent
      Cases.

   2. Not later than 7 days before the CMC. The plaintiff shall serve preliminary infringement
      contentions chart setting forth where in the accused product(s) each element of the
      asserted claim(s) are found. The plaintiff shall also identify the priority date (i.e. the
      earliest date of invention) for each asserted claim and produce: (1) all documents
      evidencing conception and reduction to practice for each claimed invention, and (2) a
      copy of the file history for each patent in suit.

   3. Two weeks after the CMC. The parties shall file a motion to enter an agreed Scheduling
      Order that generally tracks the exemplary schedule attached as Exhibit A to this OGP,
      which should suit most cases. If the parties cannot agree, the parties shall submit a joint
      motion for entry of a Scheduling Order briefly setting forth their scheduling
      disagreement. Absent agreement of the parties, the plaintiff shall be responsible for the
      timely submission of this and other joint filings. When filing any Scheduling Order, the
      parties shall also jointly send an editable copy to the Court’s law clerk.

   4. Seven weeks after the CMC. The defendant shall serve preliminary invalidity contentions
      in the form of (1) a chart setting forth where in the prior art references each element of
      the asserted claim(s) are found, (2) an identification of any limitations the defendant
      contends are indefinite or lack written description under section 112, and (3) an
      identification of any claims the defendant contends are directed to ineligible subject
      matter under section 101. The 101 contention shall (1) identify the alleged abstract idea,
      law of nature, and/or natural phenomenon in each challenged claim; (2) identify each
      claim element alleged to be well-understood, routine, and/or conventional; and (3) to the
      extent not duplicative of 102/103 prior art contentions, prior art for the contention that

                                                 1
OGP Version 4.0
         Case 6:21-cv-00292-ADA Document 69-6 Filed 03/28/22 Page 50 of 57




         claim elements are well-understood, routine, and/or conventional. The defendant shall
         also produce (1) all prior art referenced in the invalidity contentions, and (2) technical
         documents, including software where applicable, sufficient to show the operation of the
         accused product(s). 1

                                         II.    DISCOVERY

Except with regard to venue, jurisdictional, and claim construction-related discovery, all other
discovery shall be stayed until after the Markman hearing. Notwithstanding this general stay of
discovery, the Court will permit limited discovery by agreement of the parties, or upon request,
where exceptional circumstances warrant. For example, if discovery outside the United States is
contemplated, the Court is inclined to allow such discovery to commence before the Markman
hearing.

Following the Markman hearing, the following discovery limits apply. The Court will consider
reasonable requests to adjust these limits should circumstances warrant.

    1.   Interrogatories: 30 per side 2
    2.   Requests for Admission: 45 per side
    3.   Requests for Production: 75 per side
    4.   Fact Depositions: 70 hours per side (for both party and non-party witnesses combined)
    5.   Expert Depositions: 7 hours per report 3

Electronically Stored Information. As a preliminary matter, the Court will not require general
search and production of email or other electronically stored information (ESI), absent a showing
of good cause. If a party believes targeted email/ESI discovery is necessary, it shall propose a
procedure identifying custodians and search terms it believes the opposing party should search.
The opposing party can oppose, or propose an alternate plan. If the parties cannot agree, they
shall contact the Court to discuss their respective positions.

                                 III.    DISCOVERY DISPUTES

Procedure. A party may not file a Motion to Compel discovery unless: (1) lead counsel have
met and conferred in good faith to try to resolve the dispute, and (2) the party has contacted the
Court’s law clerk to summarize the dispute and the parties’ respective positions. When


1
 To the extent it may promote early resolution, the Court encourages the parties to exchange license and
sales information, but any such exchange is optional during the pre-Markman phase of the case.
2
  A “side” shall mean the plaintiff (or related plaintiffs suing together) on the one hand, and the defendant
(or related defendants sued together) on the other hand. If the Court consolidates related cases for pretrial
purposes, with regard to calculating limits imposed by this OGP, a “side” shall be interpreted as if the
cases were proceeding individually. For example, in consolidated cases the plaintiff may serve up to 30
interrogatories on each defendant, and each defendant may serve up to 30 interrogatories on the plaintiff.
3
 For example, if a single technical expert submits reports on both infringement and invalidity, he or she
may be deposed for up to 14 hours in total.

                                                      2
OGP Version 4.0
          Case 6:21-cv-00292-ADA Document 69-6 Filed 03/28/22 Page 51 of 57




contacting the Court’s law clerk for discovery or procedural disputes, the following procedures
shall apply.

If the parties remain at an impasse after lead counsel have met and conferred, the requesting
party shall email a summary of the issue(s) and specific relief requested to all counsel of record.
The summary of the issue shall not exceed 500 words for one issue or a combined 1000 words
for multiple issues. The responding party has three business days thereafter to provide an email
response, also not to exceed 500 words for one issue or a combined 1000 words for multiple
issues. The specific relief requested should propose the exact language to be issued in a court
order for each part of every disputed issue. The specific relief requested does not count toward
word limits. The Court encourages the parties to provide their submission in a table format which
identifies the disputed issues and specific relief requested.

                                                Example:

        Issue            Requesting Party’s Position               Responding Party’s Position

    RFP 1:          Responding Party didn’t produce          We found no sales records of the
    All sale        anything. Responding Party keeps         Product in the sales database.
    records of      its sales records in a sales database.
    the Product.
                    Relief: Order that “Responding           Relief: Find that “no documents
                    Party must produce a copy of the         responsive to RFP 5 exist” and deny
                    sales database within 7 days.”           Requesting Party’s relief.

    ROG 5:          Responding Party only identified a       We identified the relevant employees.
    Identify all    subset of the employees.                 The other employees are not relevant,
    employees                                                and it is too burdensome to identify
    who worked      Relief: Order that “Responding           every employee.
    on the          Party is compelled to fully respond
    Product.        to ROG 5 by identifying the names        Relief: Order that “Responding Party
                    and locations of the remaining           need not identify any other employees in
                    employees who worked on Product          response to ROG 5.”
                    by [date].”



Once the opposing party provides its response, the requesting party shall email the summaries of
the issues to the Court’s law clerk with opposing counsel copied. If a hearing is requested, the
parties shall indicate in the email whether any confidential information will be presented.
Thereafter, the Court will provide guidance to the parties regarding the dispute or arrange a
telephonic or Zoom hearing. The hearing shall proceed in the sequence of issues charted.

Written Order. 4 Within 7 days of the discovery hearing, the parties shall email a jointly
proposed order to the Court’s law clerk that includes the summaries of the issues, relief

4
    This supersedes June 17, 2021 Standing Order for Discovery Hearings in Patent Cases.

                                                     3
OGP Version 4.0
       Case 6:21-cv-00292-ADA Document 69-6 Filed 03/28/22 Page 52 of 57




requested, and the parties’ understanding of the Court’s ruling. If one party disputes the language
of the order, then that party shall send an editable version of the proposed order to the Court’s
law clerk with the disputed language in tracked changes.

                                  IV.   VENUE DISCOVERY

The Court hereby establishes the following presumptive limits on discovery related to venue and
jurisdiction: each party is limited to 5 interrogatories, 10 Requests for Production, and 10 hours
of deposition testimony. The time to respond to such discovery requests is reduced to 20 days. If
a party believes these limits should be expanded, the party shall meet and confer with opposing
counsel and if an impasse is reached, the requesting party is directed to contact the Court for a
telephonic hearing.

Venue or jurisdictional discovery shall be completed no later than ten weeks after the filing of an
initial venue motion. Parties shall file a notice of venue or jurisdictional discovery if the
discovery will delay a response to a motion to transfer.

                             V.     MOTIONS FOR TRANSFER

This section applies to all cases filed on or after the effective date of this OGP. Otherwise, the
Second Amended Standing Order Regarding Motions for Inter-District Transfer controls earlier-
filed cases.

A motion to transfer anywhere may be filed within three weeks after the CMC or within eight
weeks of receiving or waiving service of the complaint, whichever is later. Thereafter, a movant
must show good cause for any delay and seek leave of court. The deadline for plaintiff’s
response is two weeks after the completion of venue or jurisdictional discovery. The deadline for
Defendant’s reply is two weeks after the filing of the response.

The following page limits and briefing schedule apply to motions to transfer:

       a. Opening – 15 pages

       b. Response – 15 pages, due 14 days after the completion of venue or jurisdictional
          discovery, if such discovery is conducted; otherwise, 14 days after the Opening brief

       c. Reply – 5 pages, due 14 days after the Response brief

All parties who have filed a motion to transfer shall provide the Court with a status report
indicating whether the motion has been fully briefed at each of the following times: 1) when the
motion to transfer becomes ready for resolution, 2) at four weeks before the Markman hearing
date if the motion to transfer remains unripe for resolution and 3) if there are multiple Markman
hearings, the status report is due six weeks before the first scheduled Markman hearing. In
addition, if by one week before the Markman hearing the Court has not ruled on any pending
motion to transfer, the moving party is directed to email the Court’s law clerk (and the technical
advisor, when appointed), and indicate that the motion to transfer is pending.



                                                 4
OGP Version 4.0
       Case 6:21-cv-00292-ADA Document 69-6 Filed 03/28/22 Page 53 of 57




If a motion to transfer to another district remains pending, the Court will either promptly resolve
the pending motion before the Markman hearing or postpone the Markman hearing. Whenever a
Markman hearing is postponed pursuant to this OGP (e.g., because the transfer motion has not
yet ripened or only recently ripened), Fact Discovery will begin one day after the originally
scheduled Markman hearing date.

             VI.  MEET AND CONFER REQUIREMENT FOR
      EARLY MOTIONS TO DISMISS INDIRECT AND WILLFUL INFRINGEMENT

Any party seeking to dismiss claims of indirect or willful infringement before fact discovery
must first meet and confer with the opposing party to discuss dismissing those allegations
without prejudice, with leave to re-plead those allegations with specificity, if supported by a
good faith basis under Rule 11, within three months after fact discovery opens while permitting
fact discovery on indirect and willful infringement during those three months. The party moving
to dismiss must attach a certification of compliance with this OGP to its motion to dismiss.

An agreement to dismiss under this section shall be filed as a joint notice instead of as a motion.

                        VII.    INTERIM PROTECTIVE ORDER

The Court provides a Model Protective Order on its website. Pending entry of the final Protective
Order, the Court issues the following interim Protective Order to govern the disclosure of
confidential information:

       If any document or information produced in this matter is deemed confidential by the
       producing party and if the Court has not entered a protective order, until a protective
       order is issued by the Court, the document shall be marked “confidential” or with some
       other confidential designation (such as “Confidential – Outside Attorneys’ Eyes Only”)
       by the disclosing party and disclosure of the confidential document or information shall
       be limited to each party’s outside attorney(s) of record and the employees of such outside
       attorney(s).

       If a party is not represented by an outside attorney, disclosure of the confidential
       document or information shall be limited to one designated “in house” attorney, whose
       identity and job functions shall be disclosed to the producing party 5 days prior to any
       such disclosure, in order to permit any motion for protective order or other relief
       regarding such disclosure. The person(s) to whom disclosure of a confidential document
       or information is made under this OGP shall keep it confidential and use it only for
       purposes of litigating the case.

                           VIII.    CLAIM CONSTRUCTION

                     Limits for Number of Claim Terms to be Construed

Terms for Construction. Based on the Court’s experience, the Court believes that it should
have presumed limits on the number of claim terms to be construed. The “presumed limit” is the
maximum number of terms that each side may request the Court to construe without further
leave of Court. If the Court grants leave for additional terms to be construed, depending on the

                                                 5
OGP Version 4.0
       Case 6:21-cv-00292-ADA Document 69-6 Filed 03/28/22 Page 54 of 57




complexity and number of terms, the Court may split the Markman hearing into multiple
hearings.
The presumed limits based on the number of patents-in-suit are as follows:

 1-2 Patents                       3-5 Patents                       More than 5 Patents
 8 terms                           10 terms                          12 terms

When the parties submit their joint claim construction statement, in addition to the term and the
parties’ proposed constructions, the parties should indicate which party or side proposed that
term, or if that was a joint proposal.

                              Briefing Procedure and Page Limits

The Court will require non-simultaneous Markman briefing with the following default page
limits. When exceptional circumstances warrant, the Court will consider reasonable requests to
adjust these limits. These page limits shall also apply collectively for coordinated and
consolidated cases; however, the Court will consider reasonable requests to adjust page limits in
consolidated cases where circumstances warrant. The Court has familiarity with the law of claim
construction and encourages the parties to forego lengthy recitations of legal authorities and to
instead focus on the substantive issues unique to each case.

Unless otherwise agreed to by the parties, the default order of terms in the parties’ briefs shall be
based on 1) the patent number (lowest to highest), the claim number (lowest to highest), and
order of appearance within the lowest number patent and claim. An example order may be as
follows:

   1. 10,000,000 Patent, Claim 1, Term 1
   2. 10,000,000 Patent, Claim 1, Term 2 (where Term 2 appears later in the claim than does
      Term 1)
   3. 10,000,000 Patent, Claim 2, Term 3 (where Term 3 appears later in the claim than does
      Terms 2 and 3)
   4. 10,000,001 Patent, Claim 1, Term 4
   5. 10,000,001 Patent, Claim 3, Term 5
   6. 10,000,002 Patent, Claim 2, Term 6

If that the same or similar terms appear in multiple claims, those same or similar terms should be
ordered according to the lowest patent number, lowest claim number, and order of appearance
within the patent and claim.


 Brief                    1-2 Patents                 3-5 Patents            More than 5 Patents
 Opening                  20 pages                    30 pages               30 pages, plus 5
 (Defendant)                                                                 additional pages for
                                                                             each patent over 5 up
                                                                             to a maximum of 45
                                                                             pages


                                                  6
OGP Version 4.0
       Case 6:21-cv-00292-ADA Document 69-6 Filed 03/28/22 Page 55 of 57




 Response                 20 pages                   30 pages               30 pages, plus 5
 (Plaintiff)                                                                additional pages for
                                                                            each patent over 5 up
                                                                            to a maximum of 45
                                                                            pages
 Reply                    10 pages                   15 pages               15 pages, plus 2
 (Defendant)                                                                additional pages for
                                                                            each patent over 5 up
                                                                            to a maximum of 21
                                                                            pages
 Sur-Reply                10 pages                   15 pages               15 pages, plus 2
 (Plaintiff)                                                                additional pages for
                                                                            each patent over 5 up
                                                                            to a maximum of 21
                                                                            pages

After briefing concludes, the parties shall file a Joint Claim Construction Statement and email an
editable copy to the Court’s law clerks.

                 Technology Tutorials and Conduct of the Markman Hearing

Technology tutorials are optional, especially in cases where a technical advisor has been
appointed. If the parties submit one, the tutorial should be in electronic form, with voiceovers,
and submitted at least 10 days before the Markman hearing. In general, tutorials should be: (1)
directed to the underlying technology (rather than argument related to infringement or validity),
and (2) limited to 15 minutes per side. The tutorial will not be part of the record and the parties
may not rely on or cite to the tutorial in other aspects of the litigation.

The Court generally sets aside one hour for the Markman hearing; however, the Court is open to
reserving more or less time, depending on the complexity of the case and input from the parties.
As a general rule, the party opposing the Court’s preliminary construction shall go first. If both
parties oppose the Court’s preliminary construction, the plaintiff shall typically go first.

The Court will provide preliminary constructions to the parties ahead of the Markman hearing.
At the Markman hearing, the Court encourages oral arguments that fine-tune the preliminary
constructions over arguments repeated from the briefs.

                                 IX.     GENERAL ISSUES

1. The Court will entertain reasonable requests to streamline the case schedule and discovery.
   Parties should contact the Court’s law clerk when a change might help streamline the case.

2. The Court is generally willing to extend the response to the Complaint up to 45 days if
   agreed by the parties. However, longer extensions are disfavored.

3. Speaking objections during depositions are improper. Objections during depositions shall be
   stated concisely and in a nonargumentative and nonsuggestive manner. Examples of

                                                 7
OGP Version 4.0
       Case 6:21-cv-00292-ADA Document 69-6 Filed 03/28/22 Page 56 of 57




    permissible objections include: “Objection, leading,” “Objection, compound,” “Objection,
    vague.” Other than to evaluate privilege issues, counsel should not confer with a witness
    while a question is pending. Counsel may confer with witnesses during breaks in a deposition
    without waiving any otherwise applicable privilege.

4. Plaintiff must file a notice informing the Court when an IPR is filed, the expected time for an
   institution decision, and the expected time for a final written decision, within two weeks of
   the filing of the IPR.

5. After the trial date is set, the Court will not move the trial date except in extreme situations.
   If a party believes that the circumstances warrant continuing the trial date, the parties are
   directed to contact the Court’s law clerk.

6. The Court does not limit the number of motions for summary judgment (MSJs), Daubert
   motions, or Motions in limine (MIL) a party may file. However, absent leave of Court, the
   cumulative page limit for opening briefs for all MSJs is 40 pages per side, for all Daubert
   motions is 40 pages per side, and for all MILs is 15 pages per side. Each responsive MSJ,
   Daubert, and MIL brief is limited to the pages utilized in the opening brief or by the local
   rules, whichever is greater; and the cumulative pages for responsive briefs shall be no more
   than cumulative pages utilized in the opening briefs. Reply brief page limits shall be
   governed by the local rules.

7. For Markman briefs, 5 summary judgment motions, and Daubert motions, the parties shall
   jointly deliver to Chambers one double-sided paper copy of the Opening, Response, and
   Reply briefs, omitting attachments, at least 10 days before the hearing. Absent agreement to
   the contrary, the plaintiff shall be responsible for delivering a combined set of paper copies to
   chambers. Each party shall also provide an electronic copy of the briefs, exhibits, and the
   optional technology tutorial via USB drive. For Markman briefs, the parties should also
   include one paper copy of all patents-in-suit and the Joint Claim Construction Statement. If
   the Court appoints a technical advisor, each party shall deliver the same to the technical
   advisor, also 10 days before the hearing.

8. When filing the Joint Claim Construction Statement or proposed Protective Order, the parties
   shall also email the law clerk a Word version of the filed documents.

9. For all non-dispositive motions, the parties shall submit a proposed Order. The proposed
   Order shall omit the word “Proposed” from the title.

10. Unless the Court indicates otherwise, the following Zoom information shall be used for all
    non-private hearings. The public is allowed to attend non-private hearings. Any party who
    intends to present confidential information shall email the Court’s law clerk to request a
    private Zoom setup.



5
 But if the Court appoints a technical advisor for claim construction, the parties do not need to provide a
copy of the Markman briefs to the Court.

                                                     8
OGP Version 4.0
      Case 6:21-cv-00292-ADA Document 69-6 Filed 03/28/22 Page 57 of 57




   https://txwd-
   uscourts.zoomgov.com/j/1613131172?pwd=ek9WOFZLeHZXalNYVmFOdkJabDJoQT09

   Meeting ID: 161 313 1172
   Passcode: 167817
   One tap mobile: +16692545252,,1613131172#,,,,*167817



SIGNED this 7th day of March, 2022.




                                  ALAN D ALBRIGHT
                                  UNITED STATES DISTRICT JUDGE




                                          9
OGP Version 4.0
